             Case 1:21-cr-00158-RC Document 56 Filed 01/04/22 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      :
                                               :
                 v.                            :               NO. 21-CR-158 (RC)
                                               :
 KYLE FITZSIMONS,                              :
                                               :
                        Defendant.             :

                      CONSENT MOTION TO CONTINUE TRIAL DATE

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby moves to continue the April 4, 2022, trial date, due to a

scheduling issue that has arisen. Undersigned counsel will be on active-duty military orders from

April 4 – April 16, 2022. The government has contacted defense counsel who does not oppose

this motion. The parties jointly propose the following dates for a re-scheduled trial date:

   •     April 25 – April 29, 2022
   •     May 9 – May 13, 2022


   If these dates are not convenient for the Court, the parties can propose additional dates. For

the reasons stated above, the parties request the Court vacate the trial date set for April 4, 2022.

For these same reasons, the parties further believe it is in the interest of justice to toll the Speedy

Trial Act to ensure the parties are available for the trial date. Therefore, the parties thus request

a tolling of the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A), based on the factors

described in 18 U.S.C. 3161(h)(7)(B)(i), (ii), and (iv). Therefore, the parties request an exclusion

of time under the Speedy Trial Act from April 4, 2022, through the new trial date docketed by the

Court.
Case 1:21-cr-00158-RC Document 56 Filed 01/04/22 Page 2 of 2



                          Respectfully submitted,

                          MATTHEW M. GRAVES
                          United States Attorney
                          DC Bar No. 481052


                    By:          /s/
                          BRANDON K. REGAN
                          Assistant United States Attorney
                          MD Attorney No. 1312190043
                          555 Fourth Street, N.W.
                          Washington, DC 20530
                          Brandon.regan@usdoj.gov
                          (202) 252-7759




                            2
